Case No. 1:13-cr-00392-CMA Document 249-18 filed 08/14/14 USDC Colorado pg 1 of 25




      EXHIBIT 17
Case No. 1:13-cr-00392-CMA Document 249-18 filed 08/14/14 USDC Colorado pg 2 of 25
Case No. 1:13-cr-00392-CMA Document 249-18 filed 08/14/14 USDC Colorado pg 3 of 25
Case No. 1:13-cr-00392-CMA Document 249-18 filed 08/14/14 USDC Colorado pg 4 of 25
Case No. 1:13-cr-00392-CMA Document 249-18 filed 08/14/14 USDC Colorado pg 5 of 25
Case No. 1:13-cr-00392-CMA Document 249-18 filed 08/14/14 USDC Colorado pg 6 of 25
Case No. 1:13-cr-00392-CMA Document 249-18 filed 08/14/14 USDC Colorado pg 7 of 25
Case No. 1:13-cr-00392-CMA Document 249-18 filed 08/14/14 USDC Colorado pg 8 of 25
Case No. 1:13-cr-00392-CMA Document 249-18 filed 08/14/14 USDC Colorado pg 9 of 25
Case No. 1:13-cr-00392-CMA Document 249-18 filed 08/14/14 USDC Colorado pg 10 of
                                      25
Case No. 1:13-cr-00392-CMA Document 249-18 filed 08/14/14 USDC Colorado pg 11 of
                                      25
Case No. 1:13-cr-00392-CMA Document 249-18 filed 08/14/14 USDC Colorado pg 12 of
                                      25
Case No. 1:13-cr-00392-CMA Document 249-18 filed 08/14/14 USDC Colorado pg 13 of
                                      25
Case No. 1:13-cr-00392-CMA Document 249-18 filed 08/14/14 USDC Colorado pg 14 of
                                      25
Case No. 1:13-cr-00392-CMA Document 249-18 filed 08/14/14 USDC Colorado pg 15 of
                                      25
Case No. 1:13-cr-00392-CMA Document 249-18 filed 08/14/14 USDC Colorado pg 16 of
                                      25
Case No. 1:13-cr-00392-CMA Document 249-18 filed 08/14/14 USDC Colorado pg 17 of
                                      25
Case No. 1:13-cr-00392-CMA Document 249-18 filed 08/14/14 USDC Colorado pg 18 of
                                      25
Case No. 1:13-cr-00392-CMA Document 249-18 filed 08/14/14 USDC Colorado pg 19 of
                                      25
Case No. 1:13-cr-00392-CMA Document 249-18 filed 08/14/14 USDC Colorado pg 20 of
                                      25
Case No. 1:13-cr-00392-CMA Document 249-18 filed 08/14/14 USDC Colorado pg 21 of
                                      25
Case No. 1:13-cr-00392-CMA Document 249-18 filed 08/14/14 USDC Colorado pg 22 of
                                      25
Case No. 1:13-cr-00392-CMA Document 249-18 filed 08/14/14 USDC Colorado pg 23 of
                                      25
Case No. 1:13-cr-00392-CMA Document 249-18 filed 08/14/14 USDC Colorado pg 24 of
                                      25
Case No. 1:13-cr-00392-CMA Document 249-18 filed 08/14/14 USDC Colorado pg 25 of
                                      25
